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AO 91 (Rev. 08/09) Criminal Comp]aint

 

UNITED STATES DISTRICT COURT

 

 

for the
District of Maryland
United States of America )
DA\/lo wait SANTOS § ease No.
§ F 10 li&i+ii P‘tz”ti§
Defendam(s) ) - di
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of Auqust 5, 2010 in the county of Ba|timore in the
District of Ma[y|and , the defendant($) violated:
Coa'e Section Ojjt"ense Description
Tit|e 21, United States Code Possession with intent to distribute 100 grams or more of heroin

Section 841 (a)

This criminal complaint is based on these facts:

See Attached Afndavit

il Continued on the attached sheet.

Co}n§l'ainam ’s signa!ure

|V|icha J. R mano, TFO DEA

Prr`nted me and n`rle

Sworn to before me and signed i_n_my presence

Date. _{HSL_£ @/”{ car ‘_/,ldge‘s sign§{\\

City and state: 'l_ _ Baltimore,_Mary|and Pau| W. Grimm, U.S. Maqistrate Judge

».'-d Prinred name and title

 

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IN THE UNITE.D STATES COURT FOR THE
DISTRICT OF MARYLAND '
NORTHERN DIVISION

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

|, N|ichaet J. Romano, a Task Force Oft`lcer With the Drug Enforcernent
Administration (DEA), being duly sworn, do state as follows:

vl. This affidavit is submitted in support of a criminaI complaint charging David
Neil Santos, With possession with the intent to distribute in excess of 100 grams of
heroin, in violation or 21 U.S.C. § 841 (a).

 

2. I am a Task Force Officer with the Drug Enforcement Administration (DEA). l

have been a law enforcement officer with the Baltimore County Police Department

‘ since December 1996. Your affiant also states the he is a law enforcement officer

of the United States who is empowered by law to conduct investigations of and

make arrests for offenses enumerated in Title 21, United States Code, more

specifically, the Federal Controlled Substance Act (CSA). l am currently assigned
to DEA Group 52 of the Baltimore District Office. -

3. During the first week of June 2010, Detective ]ustin Trojan of the Baltimore
City Police Department began a narcotics investigation into a subject he identified
as David Neil SANTOS (M/W 11/24/1986). David SANTOS was known to
Detective Trojan to be a mid-level narcotics trafficker in the southeast district of
Baltimore City. Through his investigation, Detective Trojan conducted
surveillance and identified David SANTOS’ residence as 3101 Liberty Parkway 2“d
Floor, Baltimore, Maryland 21222. Detective Trojan also identified that David
SANTOS was utilizing a storage unit located at 6821 Eastern Avenue Unit#2165,
Baltimore, Maryland 21224 and his father’s residence at 1421 Broening Highway,
l Baltimore, Maryland 21224 to further his narcotics trafficking

4. Based on Detective Trojan’s investigation, he applied for “No-Knock” search
t and seizure warrants for the residences of 3101 Liberty Parkway Z"d Floor, Balto,
l MD 21222, 1421 Broening Highway, Balto, MD 21224, and a search warrant for
l 6821 Eastern Avenue Unit#2165, Balto, MD 21224. Judge Hueston of the District
Court for Baltimore City reviewed the affidavits for the search and seizure warrants
for the above listed locations On August 4, 2010, Judge Hueston signed the
search and seizure warrants for the locations of 3101 Liberty Parkway Z“d Floor,
Balto, MD 21222, 1421 Broening Highway, Balto, MD 21224, and 6821 Eastem
Avenue Unit#2165, Balto, MD 21224

5. On August 05, 2010 at approximately 5:15 a.m., members of the Southeast

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District and Baltimore City QRT/Tactical Unit executed the “No-Knock" search
and seizure Warrant at the residence of 1421 Broening I-Iighway, Balto, MD 21224.
Force was used to gain entry into the location. Upon entry into the residence,
David Santos (M/W 12/08/1955) was found inside sleeping Once the location
was secured, Mr. Santos was secured in the living room area.

At that time, Detective Beal advised Mr. Santos of his rights per Miranda and
Mr. Santos advised he understood his rights per Miranda. An orderly search of the
residence was conducted at that time. During the course of the search, Mr. Santos
advised Detective Beal that “My son David Santos comes in and out of this house
and only goes to the basement area.” Mr. Santos also advised that his son, David
SANTOS, tells him to stay out of the basement While he is in the basement

During the course of the search, the following items were found inside the
location:

BASEMENT
o Brown paper bag containing plastic mannite bottle with powder residue was
found by Detective Angelini
0 Four plastic bags containing white powder residue (suspected cocaine)
were found by Detective Angelini
¢ Personal mail in the name of David Santos and Lashonta Smith were found
by Detective Angelini

KITCHEN
¢ One green Ziploc baggie containing greenish brown vegetable matter,
recognized to be marijuana THC, a schedule I controlled dangerous
substance, was found by Officer Arias in a cabinet

All of the items recovered from 1421 Broening Highway, Balto, MD 21224 were
confiscated and submitted per procedure to the Baltimore City Police Department
Chemistry Lab for analysis

On August 05, 2010 at approximately 5:25 a.m.,`members of the Baltimore
County Police Department Tactical Team and Narcotics Unit executed the search
and seizure warrant for the address of 3101 Liberty Parkway 2nd Floor, Balto, MD
21222. Officers approached the location, knocked and announced their presence,
and upon receiving no response used force to gain entry into the residence Upon

entry into the location, David Neil SANTOS (MfW 11/24/1986) and Lashonta ‘

Shanika SMITH (F/B 05/04/1990) were found in the front bedroom

Detective Harlee of the Baltimore County Police Department read a copy of the
search and seizure warrant and advised both SANTOS and SMITH of their rights
per Miranda. Both Subjects advised they understood their rights per Miranda.

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SAN'I`OS advised Detective Harlee that he had a large sum of U.S. Currency and an
amount of cocaine in the rear bedroom of the apartment SANTOS then escorted
Detective Harlee to the rear bedroom and SANTOS pointed to where a bag of
cocaine was located Detective Harlee recovered a plastic baggie containing an
off-white rock like substance. SANTOS advised Detective Harlee that all of the
drugs inside the apartment belonged to hjm. The off-white rock like substance
was recognized through Detective Harlee’s training knowledge and experience to
be crack cocaine, a schedule II controlled dangerous substance

At that time, the residence was photographed and an orderly search of the
residence was conducted As a result of the search, the following items were
recovered as evidence:

REAR BEDROOM j

¢ Plastic baggie containing an off-white chunk substance was found
by Detective Harlee from a shelf in bedroom

0 Bag containing empty gel caps were found by Detective Toland on
the floor in front of a shelf in bedroom

¢ U.S. Currency totaling $9,663.00 was found by Detective Toland on
floor and a shelf in bedroom

¢ Six blocks of mannite cognoscenti and one jug of quinine were
found by Detective Toland in a bag on floor in bedroom

0 Two digital scales were found by Detective Toland on floor of
bedroom

¢ A siner, spoon containing residue, and bags were found by
Detective Toland in a box top on floor in bedroom

¢ Cell phone was found by Detective Toland in a box top on floor in
bedroom

¢ Residency paperwork for David N. SANTOS was found by
Detective Kriete on a shelf in bedroom

¢ Nine bags containing residue were found by Detective Toland in a
bag in crib in bedroom

0 Numerous mannite wrappers and numerous empty bags of 1000 gel
capsules were found by Detective Toland in crib in bedroom

FRONT BEDROOM
0 Residency paperwork for David N. SANTOS was found by
Detective Ruffino on a shelf in bedroom
0 Four cell phones were found by Detective Ruffino in bedroom
¢ Cell phone was found by Detective Freund on a desk in bedroom

KITCHEN
0 Plate containing residue was found by Detective Kilpatrick in a
cabinet
l Numerous bags containing brown powder and 449 gel capsules

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containing brown powder were found by Detective Kriete inside a
Cheerios box inside the refrigerator

BATHROOM -
0 Cell phone was found by Detective Toland in sink

After Detective Toland had located the bag containing the empty gel capsules
from the rear bedroom, SANTOS advised Detective Harlee that he had a bag
containing heroin pills inside a Cheerios box in the refrigerator

All of the above listed items were confiscated by the Baltimore County Police
Department and submitted per procedure to the Baltimore County Police
Department Chemistry Lab and Evidence Unit.

On August 6, 2010, Baltimore County Forensic Chemist Rosenkoff analyzed the
items recovered from the search warrant that was conducted on August 5, 2010 at
3101 Liberty Parkway Z"d Floor, Balto, MD 21222. The analysis indicated that the
bag containing off-white rock substance found in the rear bedroom was cocaine
base', a schedule ll controlled dangerous substance (Net weight 35.0 grams). The
449 capsules containing brown powder found in the refrigerator were analyzed and
found to contain 91 .l grams of heroin, a schedule l controlled dangerous substance
The bags found in the refrigerator were also analyzed and one bag contained 29
grams of heroin, one bag contained 10 grams of heroin, one bag contained 10.4
grams of heroin, one bag contained 18 grams of heroin, one bag contained 33.6
grams of heroin, and one bag contained 34.5 grams of heroin.

Based on your Affiant’s training, knowledge and experience as a narcotics
investigator with both the Baltimore County Police Department and Drug
Enforcement Administration that the amount of heroin found inside SANTO’S
residence at 3101 Liberty Parkway 2"d Floor, Balto, MD 21222 is in sufficient
quantity to indicate possession with the intent to distribute.

On August 05, 2010 at approximately 7:30 a.m., members from the Southeast
District of Baltimore City responded to the address of 6821 Eastern Avenue
Unit#2165 to execute the search and seizure warrant on the storage unit. The pad
lock to Unit#2165 was cut to gain entry into the storage unit.

Once inside storage Unit#2165, an orderly search of the unit was conducted and
the following items were recovered:

¢ Mossberg 12 gauge shotgun serial#L353S43 was found by
Detective Angelini in a basket wrapped in children’s clothing

¢ Twenty-five live 12 gauge shotgun rounds was found by Detective
Angelini in a basket wrapped in children’s clothing

¢ Taurus .40 caliber handgun serial#SNA36960 with five live rounds
was found by Detective Angelini in a basket wrapped in children’S
clothing

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0 Raven Arms MP-25 handgun serial#1884558 with three live rounds
was found by Detective Angelini in a basket wrapped in children’s’
clothing

¢ White digital scale with white powder residue was found by
Detective Angelini in a black trash bag

¢ Black digital scale with white powder residue was found by
Detective Angelini in a black trash bag

0 Silver metal spoon with white powder residue was found by
Detective Angelini in a black trash bag

¢ Clear plastic bag with white powder residue was found by Detective
Angelini in a black trash bag

¢ District Court of Maryland paperwork in the name of David
SANTOS (D.O.B. 11/24/1986) was found by Detective Angelini in
a black trash bag

0 Mail in the name of Lashonta Smith was found by Detective
Angelini in a black trash bag

18. All of the items recovered from storage Unit#2165 were confiscated and
submitted per procedure to the Baltimore City Police Department Evidence Control
Unit.

Based on the foregoing there is probable cause to believe the David Neil Santos, did
possess with intent to distribute over 100 grams of heroin, in violation of 21 U.S.C.
§ 841(a).

I, Michael J. Romano, affirm under penalties of perjury that the facts and
circumstances recounted are true and accurate to the best of my knowledge,
information and belief

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Michael]. R mario
Task Force 0 tcer
Drug cement Administration

 

 

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United,States Magistrate Judge

